                          Case 14-50333-gs                  Doc 140           Entered 07/22/14 16:49:52           Page 1 of 2

              DENIED
                     1
                     2
                     3
                     4
                     Entered on Docket
                     July 22, 2014
                5
             __________________________________________________________________
                     6
                         ALAN R. SMITH, ESQ. #1449
                     7   HOLLY E. ESTES, ESQ. #11797
                         Law Offices of Alan R. Smith
                     8   505 Ridge Street                                                                 ELECTRONICALLY LODGED
                         Reno, Nevada 89501                                                                  July 14, 2014
                     9   Telephone (775) 786-4579
                         Facsimile (775) 786-3066
                 10      Email: mail@asmithlaw.com
                         Attorney for Debtors
                 11      ANTHONY THOMAS and WENDI
                         THOMAS and AT EMERALD, LLC
                 12
                 13
                 14
                                                            UNITED STATES BANKRUPTCY COURT
                 15
                                                                           DISTRICT OF NEVADA
                 16
                                                                                       —ooOoo—
                 17
                         In Re:                                                                  Case No. BK-N-14-50333-BTB
                 18                                                                              Case No. BK-N-14-50331-BTB
                         ANTHONY THOMAS and                                                      Chapter 11 Cases
                 19      WENDI THOMAS,
                                                                                                 [Jointly Administered]
                 20
                         AT EMERALD, LLC,                                                        ORDER GRANTING EX PARTE
                 21                                                                              MOTION TO FILE ORDER ON
                                               Debtors.                                          MOTION TO SELL UNDER SEAL
                 22
                 23      ______________________________/
                 24                 The Court having considered the Debtors’ Ex Parte Ex Parte Motion to File Order
                 25      on Motion to Sell Under Seal (“Motion”), and good cause appearing therefor,
                 26                 IT IS HEREBY ORDERED that the Motion is GRANTED.
                 27                 IT IS SO ORDERED.
                 28      ///
  Law Offices of
 ALAN R. SMITH
 505 Ridge Street
Reno, Nevada 89501
 (775) 786-4579          H:\AT Emerald\Mot Sell\Ord Mot File Ord Mot Sell Under Seal 071414 hee.wpd
                          Case 14-50333-gs                  Doc 140           Entered 07/22/14 16:49:52   Page 2 of 2



                     1   PREPARED AND SUBMITTED BY:
                     2   LAW OFFICES OF ALAN R. SMITH
                     3   By:   /s/ Holly E. Estes
                           HOLLY E. ESTES, ESQ.
                     4     Attorney for Debtors
                     5                                                                       ###
                     6
                     7
                     8
                     9
                 10
                 11
                 12
                 13
                 14
                 15
                 16
                 17
                 18
                 19
                 20
                 21
                 22
                 23
                 24
                 25
                 26
                 27
                 28
  Law Offices of
 ALAN R. SMITH
 505 Ridge Street
Reno, Nevada 89501
 (775) 786-4579                                                                              -2-
                         H:\AT Emerald\Mot Sell\Ord Mot File Ord Mot Sell Under Seal 071414 hee.wpd
